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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

                                              )
IN RE:                                        )
GRAND JURY CASE NO. 10-GJ-3793                )    Case No. 1:19-DM-12
                                              )
                                              )    GRAND JURY NO. 19-3
                                              )
                                              )

                  GOVERNMENT’S MEMORANDUM REGARDING
              CALCULATION OF 18-MONTH LIMIT ON IMPRISONMENT

        At the contempt hearing on May 16, 2019, the Court ordered that Chelsea Manning be

incarcerated until she purges herself of her contempt or for the life of the grand jury, but in no

event to exceed 18 months.1 See Order 2 (May 16, 2019) (Dkt. No. 9). Manning’s counsel

requested that the 62 days she previously spent in confinement under Judge Hilton’s March 8,

2019 civil-contempt order be included in calculating the 18-month limit. The Court requested

that the parties submit briefing on the issue within 14 days.

        The United States does not object to including the 62 days that Chelsea Manning served

in confinement pursuant to Judge Hilton’s contempt order in calculating the 18-month limit. See

28 U.S.C. § 1826(a) (“[I]n no event shall such confinement exceed eighteen months.”); United

States v. Jones, 880 F.2d 987, 989 (7th Cir. 1989) (interpreting § 1826(a) to “limit[] the total

period of imprisonment for civil contempt to eighteen months” and holding that time spent in jail



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  The Court also directed that Manning pay a conditional fine of $500 per day after 30 days from
the issuance of its May 16 Order and $1000 per day after 60 days from the issuance of its May
16 Order, until she purges herself of her contempt or for the life of the grand jury. See Order 2.
The issue addressed in this memorandum does not affect when Manning must begin paying those
fines.
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on first contempt order should be included in calculating 18-month limit); In re Andrews, 469 F.

Supp. 171, 175 (E.D. Mich. 1979) (concluding, based on review of legislative history, that “in no

circumstances should a witness serve more than eighteen (18) months for refusing to testify,

regardless of how many grand juries are involved”).



                                                      Respectfully submitted,

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                                                      United States Attorney

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of May, 2019, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system.



                                                                 /s/____________________
                                                     Thomas W. Traxler
                                                     Assistant United States Attorney




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